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                             OFFICE OF THE CLERK
                         UNITED STATES DISTRICT COURT
                            Northern District of California

                                         CIVIL MINUTES


Date: April 1, 2025                Time: 10:00–11:36 Judge: Araceli Martínez-Olguín
                                   = 1 hour 36 minutes
Case No.: 25-cv-02847-AMO          Case Name: Community Legal Services in East Palo Alto v.
                                   United States Department of Health and Human Services



Attorney for Plaintiff: Karen Tumlin (JAC), Carson Scott (IDLC), Esther Sung (JAC), Alvaro
Huerta (IDLC), Samatha Hsich (Amica Center)
Attorney for Defendant: Jonathan K. Ross

Deputy Clerk: Jenny Galang                                  Reported by: Ruth Levine Ekhaus

                                         PROCEEDINGS

Temporary Restraining Order hearing held.

Plaintiffs’ supplemental brief is due Wednesday, April 2, 2025 by the end of the day. Government’s
supplemental brief is due Tuesday, April 8, 2025 by 9:00 a.m.

The Court takes the matter under submission. Court to issue an order.
